USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 1 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 1 of 13



                                           PUBLISHED

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                            No. 22-2082


        ANNE ARUNDEL COUNTY, MARYLAND,

                          Plaintiff – Appellee,

                    v.

        BP P.L.C.; BP AMERICA, INC.; BP PRODUCTS NORTH AMERICA, INC.;
        CROWN CENTRAL LLC; CROWN CENTRAL NEW HOLDINGS LLC;
        ROSEMORE, INC.; CHEVRON CORP.; CHEVRON U.S.A. INC.; EXXON
        MOBIL CORP.; EXXONMOBIL OIL CORPORATION; AMERICAN
        PETROLEUM INSTITUTE; SHELL PLC, f/k/a Royal Dutch Shell plc; SHELL
        USA, INC., f/k/a Shell Oil Company; CITGO PETROLEUM CORP.;
        CONOCOPHILLIPS; CONOCOPHILLIPS COMPANY; PHILLIPS 66; PHILLIPS
        66 COMPANY; MARATHON OIL COMPANY; MARATHON OIL
        CORPORATION; MARATHON PETROLEUM CORPORATION; SPEEDWAY
        LLC; HESS CORP.; CNX RESOURCES CORPORATION; CONSOL ENERGY,
        INC.; CONSOL MARINE TERMINALS LLC,

                          Defendants – Appellants.



                                            No. 22-2101


        CITY OF ANNAPOLIS, MARYLAND,

                          Plaintiff – Appellee,

                    v.

        BP P.L.C.; BP AMERICA, INC.; BP PRODUCTS NORTH AMERICA, INC.;
        CROWN CENTRAL LLC; CROWN CENTRAL NEW HOLDINGS LLC;
        CHEVRON CORP.; CHEVRON U.S.A. INC.; EXXON MOBIL CORP.;
USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 2 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 2 of 13



        EXXONMOBIL OIL CORPORATION; SHELL PLC, f/k/a/ Royal Dutch Shell plc;
        SHELL USA, INC., f/k/a Shell Oil Company; CITGO PETROLEUM
        CORPORATION; CONOCOPHILLIPS; CONOCOPHILLIPS COMPANY;
        PHILLIPS 66; PHILLIPS 66 COMPANY; MARATHON OIL COMPANY;
        MARATHON      OIL   CORPORATION;    MARATHON         PETROLEUM
        CORPORATION; SPEEDWAY LLC; HESS CORPORATION; CNX RESOURCES
        CORPORATION; CONSOL ENERGY, INCORPORATED; CONSOL MARINE
        TERMINALS LLC; AMERICAN PETROLEUM INSTITUTE; ROSEMORE,
        INC.,

                            Defendants – Appellants.


        Appeals from the United States District Court for the District of Maryland, at Baltimore.
        Stephanie A. Gallagher, District Judge. (1:21-cv-01323-SAG; 1:21-cv-00772-SAG)


        Argued: December 6, 2023                                    Decided: February 26, 2024


        Before WYNN, THACKER, and HEYTENS, Circuit Judges.


        Affirmed by published opinion. Judge Heytens wrote the opinion, which Judge Wynn and
        Judge Thacker joined.


        ARGUED: Kannon K. Shanmugam, PAUL, WEISS, RIFKIND, WHARTON &
        GARRISON, LLP, Washington, D.C., for Appellants. Victor Marc Sher, SHER EDLING
        LLP, San Francisco, California, for Appellees. ON BRIEF: Thomas G. Hungar,
        Washington, D.C., Andrea E. Neuman, New York, New York, Joshua D. Dick, San
        Francisco, California, Theodore J. Boutrous, Jr., William E. Thomson, GIBSON, DUNN
        & CRUTCHER LLP, Los Angeles, California; Ty Kelly Cronin, Alison C. Schurick, Kyle
        S. Kushner, BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ P.C.,
        Baltimore, Maryland, for Appellants Chevron Corporation and Chevron U.S.A. Inc. David
        B. Hamilton, Sarah E. Meyer, Hillary V. Colonna, WOMBLE BOND DICKINSON (US)
        LLP, Baltimore, Maryland; Jameson R. Jones, Daniel R. Brody, BARTLIT BECK LLP,
        Denver, Colorado, for Appellants ConocoPhillips and ConocoPhillips Company. Matthew
        J. Peters, Washington, D.C., Steven M. Bauer, Margaret A. Tough, Katherine A. Rouse,
        LATHAM & WATKINS LLP, San Francisco, California, for Appellants Phillips 66,
        Phillips 66 Company, ConocoPhillips, and ConocoPhillips Company. Martha Thomsen,
        Megan H. Berge, Washington, D.C., J. Scott Janoe, BAKER BOTTS LLP, Houston, Texas,
        for Appellant Hess Corp. Brian D. Schmalzbach, Richmond, Virginia, Ava E. Lias-Booker,

                                                   2
USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 3 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 3 of 13



        Melissa O. Martinez, MCGUIREWOORDS LLP, Baltimore, Maryland, for Appellant
        American Petroleum Institute. David C. Frederick, Daniel S. Severson, KELLOGG,
        HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C., Washington, D.C., for Appellants
        Shell plc and Shell USA, Inc. Tracy A. Roman, Washington, D.C., Honor R. Costello,
        CROWELL & MORING LLP, New York, New York, for Appellants CONSOL Energy Inc.
        and CONSOL Marine Terminals LLC. Noel J. Francisco, David M. Morrell, J. Benjamin
        Aguiñaga, Washington, D.C., David C. Kiernan, JONES DAY, San Francisco, California,
        for Appellant CNX Resources Corp. Thomas K. Prevas, SAUL EWING ARNSTEIN &
        LEHR LLP, Baltimore, Maryland, for Appellants Crown Central LLC, Crown Central New
        Holdings LLC, and Rosemore, Inc. Warren N. Weaver, WHITEFORD TAYLOR &
        PRESTON LLP, Baltimore, Maryland; Nathan P. Eimer, Pamela R. Hanebutt, Lisa S.
        Meyer, Chicago, Illinois, Robert E. Dunn, EIMER STAHL LLP, San Jose, California, for
        Appellant CITGO Petroleum Corporation. Craig A. Thompson, VENABLE LLP,
        Baltimore, Maryland; Theodore V. Wells, Jr., Daniel J. Toal, Yahonnes Cleary, Caitlin E.
        Grusauskas, PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP, New York, New
        York, for Appellants Exxon Mobil Corporation and ExxonMobil Oil Corporation. John B.
        Isbister, Jaime W. Luse, TYDINGS & ROSENBERG LLP, Baltimore, Maryland; Nancy
        Milburn, Diana Reiter, New York, New York, John D. Lombardo, Los Angeles, California,
        Jonathan W. Hughes, ARNOLD & PORTER KAYE SCHOLER LLP, San Francisco,
        California, for Appellants BP plc, BP America Inc., and BP Products North America Inc.
        Mark S. Saudek, GALLAGHER EVELIUS & JONES LLP, Baltimore, Maryland; Robert
        Reznick, Washington, D.C.; James Stengel, New York, New York, Catherine Y. Lui,
        ORRICK, HERRINGTON & SUTCLIFFE, LLP, San Francisco, California, for Appellants
        Marathon Oil Corporation and Marathon Oil Company. Shannon S. Broome, Ann Marie
        Mortimer, San Francisco, California, Shawn Patrick Regan, HUNTON ANDREWS
        KURTH LLP, New York, New York, for Appellants Marathon Petroleum Corporation and
        Speedway LLC. Matthew K. Edling, Martin D. Quiñones, SHER EDLING LLP, San
        Francisco, California, for Appellees. Gregory J. Swain, County Attorney, Hamilton F.
        Tyler, Deputy County Attorney, ANNE ARUNDEL COUNTY OFFICE OF LAW,
        Annapolis, Maryland, for Appellee Anne Arundel County, Maryland. D. Michael Lyles,
        City Attorney, Joel A. Braithwaite, Assistant City Attorney, CITY OF ANNAPOLIS
        OFFICE OF LAW, Annapolis, Maryland, for Appellee City of Annapolis, Maryland.




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USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 4 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 4 of 13



        TOBY HEYTENS, Circuit Judge:

               The appellants in these cases display a real commitment to the maxim, “If at first

        you don’t succeed, try, try, try again.” In recent years, state and local governments have

        brought state-court lawsuits against energy companies, alleging they misrepresented and

        concealed information about their fossil fuel products in violation of state tort and

        consumer protection laws. The companies have sought—over and over and over—to

        remove the cases to federal court. By our count, that gambit has failed in at least ten cases

        already. 1 The eleventh time is not the charm.

                                                      I.

               Two Maryland local governments—the City of Annapolis and Anne Arundel

        County—filed nearly identical suits against BP P.L.C. and more than 20 other energy

        companies in Maryland state court. The complaints seek damages and equitable relief

        under Maryland’s Consumer Protection Act and various state tort law causes of action

        based on the companies’ use and promotion of fossil fuel products while “knowing,”



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                 Rhode Island v. Shell Oil Prodts. Co., 35 F.4th 44 (1st Cir. 2022), cert. denied, 143
        S. Ct. 1796 (2023); Connecticut by Tong v. Exxon Mobil Corp., 83 F.4th 122 (2d Cir. 2023);
        City of Hoboken v. Chevron Corp., 45 F.4th 699 (3d Cir. 2022), cert. denied, 143 S. Ct.
        2483 (2023); Mayor & City Council of Baltimore v. BP P.L.C., 31 F.4th 178 (4th Cir. 2022),
        cert. denied, 143 S. Ct. 1795 (2023); Minnesota by Ellison v. American Petrol. Inst.,
        63 F.4th 703 (8th Cir. 2023), cert denied, 2024 WL 72389 (Jan. 8, 2024); County of San
        Mateo v. Chevron Corp., 32 F.4th 733 (9th Cir. 2022), cert. denied, 143 S. Ct. 1797 (2023);
        City & Cnty. of Honolulu v. Sunoco LP, 39 F.4th 1101 (9th Cir. 2022), cert. denied, 143 S.
        Ct. 1795 (2023); City of Oakland v. BP PLC, 2023 WL 8179286 (9th Cir. Nov. 27, 2023);
        Board of Cnty. Comm’rs of Boulder Cnty. v. Suncor Energy (U.S.A.) Inc., 25 F.4th 1238
        (10th Cir. 2022), cert. denied, 143 S. Ct. 1795 (2023); District of Columbia v. Exxon Mobil
        Corp., 89 F.4th 144 (D.C. Cir. 2023).

                                                      4
USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 5 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 5 of 13



        “conceal[ing],” and “obscur[ing]” the connection between those products and climate

        change. JA 1302, ¶ 12; JA 675, ¶ 236. According to the local governments, the companies’

        “public deception campaigns” and “failure to pursue less hazardous alternative products

        available” “unduly inflated the market for fossil fuel products.” JA 675, ¶ 236; JA 1345,

        ¶ 60. And that, the local governments say, led to “more anthropogenic greenhouse gases

        . . . emitted into the environment than would have been absent that conduct,” which “helped

        bring about global warming and consequent” adverse environmental, social, and economic

        harms. JA 675, ¶ 236; JA 1345, ¶ 60.

               Making now well-rehearsed arguments, the companies removed the suits to federal

        court. The district court remanded both cases to state court. In its view, this Court’s decision

        in Mayor & City Council of Baltimore v. BP P.L.C. (Baltimore), 31 F.4th 178 (4th Cir.

        2022), “govern[ed] and foreclose[d]” most of the companies’ asserted grounds for removal.

        The district court also rejected two arguments (one a variation on a previous argument, the

        other new) it did not believe were precluded by Baltimore. The variation involved the

        companies’ continued assertion that they are eligible for federal officer removal under

        28 U.S.C. § 1442(a)(1). The new argument was that the district court had removal

        jurisdiction under 28 U.S.C. § 1441(a) because the local governments’ claims necessarily

        raised First Amendment questions and thus established federal question jurisdiction under

        28 U.S.C. § 1331.

                                                      II.

               “Since [the companies] relied upon the federal officer removal statute as a path to

        federal court, we possess appellate jurisdiction to review the entirety of the district court’s

                                                       5
USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 6 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 6 of 13



        remand order under [28 U.S.C.] § 1447(d).” Baltimore, 31 F.4th at 197. We review de novo

        the district court’s conclusion that it lacked subject-matter jurisdiction. See id.

               Despite asserting four grounds for removal in their brief, the companies admit that

        Baltimore decided two of those issues against them. Under this Court’s well-settled

        procedures, “one panel cannot overrule another.” McMellon v. United States, 387 F.3d 329,

        333 (4th Cir. 2004) (en banc). We thus reject the companies’ arguments that the district

        court had federal question jurisdiction because the local governments’ claims:

        (a) “necessarily and exclusively arise under federal law”; or (b) “arise out of, or in

        connection with [the companies’] operations on the Outer Continental Shelf.” BP Br. 6

        (quotation marks and alterations removed).

               That leaves the two removal theories addressed and rejected by the district court.

        We too are unpersuaded.

                                                       A.

               We conclude federal officer removal was no more proper here than in Baltimore.

        See 31 F.4th at 228–38 (rejecting federal officer removal argument).

               Section 1442(a)(1) of Title 28 permits the removal of any civil action brought in

        state court against “any officer (or any person acting under that officer) of the United States

        or of any agency thereof . . . for or relating to any act under color of such office.” To qualify

        for removal under that statute, a private entity (like each of the companies sued here) must

        show: “(1) that it acted under a federal officer, (2) that it has a colorable federal defense,

        and (3) that the charged conduct was carried out for or in relation to the asserted official

        authority.” Baltimore, 31 F.4th at 228 (quotation marks and alterations removed). We need

                                                       6
USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 7 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 7 of 13



        not decide whether the companies can meet the first two requirements because we conclude

        they cannot satisfy the third.

               We begin by rejecting the companies’ novel and atextual attempt to expand the

        scope of the relevant inquiry. Making aggressive use of ellipses, the companies assert the

        relevant question is whether the “ ‘civil action . . . relat[es]’—at least in part—to the

        defendant’s action(s) under the direction of federal officers.” BP Br. 20 (quoting 28 U.S.C.

        § 1442(a)(1)) (alteration in original). Based on that reading of the statute, the companies

        contend the district court erred in focusing only on whether “the alleged tortious conduct”

        identified in the complaints relate to the companies’ asserted federal duties or obligations.

        BP Br. 21. Instead, the companies say we should “focus[ ] . . . on” whether “the acts that

        allegedly caused the ‘injuries’” for which the local governments “seek[ ] to recover” were

        directed by federal officers. Id. That is a broader class of actions than the specific “tortious

        conduct” the local governments challenge, and the companies say it would include their

        “extraction and production of fossil fuels, a substantial amount of which occurred under

        the direction of federal officers.” Id. at 20–21.

               But that is not what the statute says or how courts have interpreted it. The statutory

        text tells us what must relate to what. To qualify for removal, a defendant must show, as

        relevant here, that a suit is “against” “any person acting under [an] officer” “for or relating

        to any act under color of ” a federal office. 28 U.S.C. § 1442(a), (a)(1) (emphasis added).

        It is the “act” for which the defendant is being sued—not the plaintiff ’s entire civil action

        in a general sense—that must relate to the asserted federal duty.

               Our Court and the Supreme Court have described the statute in precisely that way.

                                                       7
USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 8 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 8 of 13



        In Baltimore, we said that “[t]o satisfy the third prong, the conduct charged in the

        Complaint need only relate to the asserted official authority. That is, there must be a

        connection or association between the act in question and the federal office.” 31 F.4th at

        233 (emphasis added) (quotation marks and citations removed). And in Jefferson County

        v. Acker, 527 U.S. 423 (1999), the Supreme Court said the statute requires a connection

        “between the charged conduct and asserted official authority.” Id. at 431 (emphasis added).

               The companies’ drumbeat invocation of County Board of Arlington County v.

        Express Scripts Pharmacy, Inc., 996 F.3d 243 (4th Cir. 2021), does not move the needle.

        Yes, the words “injuries,” “harm,” and “damages” appear in that opinion. Id. at 251, 257.

        But the portion of the opinion the companies most often cite as support for their proposed

        interpretation of the relatedness requirement was not discussing the relatedness

        requirement at all. Instead, that part of the opinion was about the separate requirement that

        a private party seeking federal officer removal must show that it was “acting under” a

        federal officer. Id. at 251. And, when referencing the relatedness prong, that decision also

        stated that “there must be a connection or association between the act in question and the

        federal office.” Id. at 256 (quoting Mayor & City Council of Baltimore v. BP P.L.C.,

        952 F.3d 452, 466 (4th Cir. 2020), vacated, 593 U.S. 230 (2021)) (emphasis added) (further

        quotation marks removed).

               When asked about the lack of precedent to support their proposed reading of the

        statute, the companies asserted that no court has been squarely presented with the theory

        they urge here because “in most cases” the “charged conduct” and the conduct causing the

        “injury” are “one and the same.” Oral Arg. 8:05–8:56. But we think the statutory text and

                                                     8
USCA4 Appeal: 22-2082    Doc: 146     Filed: 02/26/2024 Pg: 9 of 13
              Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 9 of 13



        our precedent are clear: To obtain removal under Section 1442(a)(1), a defendant must

        show it is being sued for an act or acts that it claims were done under—or related to acts

        done under—federal authority.

               Having framed the relevant inquiry, we conclude the companies failed to show any

        of their allegedly wrongful activities were carried out for or in relation to federal authority.

        The companies cite “pervasive federal control over” their operations, including:

        (1) “producing specialized fuels for the military”; (2) “acting under the direction of the

        military during World War II and the Korean War”; (3) “supplying oil to the Strategic

        Petroleum Reserve”; (4) “performing operations on the [Outer Continental Shelf ]”; and

        (5) “operating the Elk Hill reserve under the control of the U.S. Navy.” BP Br. 16–18. And,

        as compared to Baltimore, the companies assert the expanded factual record and broader

        range of presented activities here show the federal government’s “plenary” control over

        fossil fuel production, which means those activities “necessarily relate” to the local

        governments’ claims. Oral Arg. 14:40–14:52 (first quote); BP Br. 16 (second quote). We

        are not convinced.

               To begin, we reject the companies’ reliance on military activity in the 1940s and

        1950s as a basis for federal officer removal here. The actions identified in the complaint

        began decades later. As the D.C. Circuit put it when rejecting a similar argument, “[t]here

        is simply no relationship between actions taken by the Companies’ predecessors in the

        1940s and 1950s and the allegedly deceptive statements made by the Companies about

        climate change since 1980.” District of Columbia v. Exxon Mobil Corp., 89 F.4th 144, 156

        (D.C. Cir. 2023).

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USCA4 Appeal: 22-2082    Doc: 146    Filed: 02/26/2024  Pg: 10 of 13
             Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 10 of 13



               The companies’ remaining assertions of federal authority involve extraction of

        gasoline or operation of energy infrastructure, either under federal regulations or via

        commercial relationships with the federal government. But the claims here do not challenge

        the companies’ production and supply of fossil fuels, whether at the Strategic Petroleum

        Reserve, the Elk Hills Reserve, the Outer Continental Shelf, or anywhere else. Instead, the

        local governments attack the companies’ “widely disseminated misleading marketing

        materials”; attempts to “discredit the scientific knowledge generally accepted at the time”

        and to “advance[ ] pseudo-scientific theories of their own”; and “develop[ment of ] public

        relations materials that prevented reasonable consumers from recognizing the risk that

        fossil fuel products would cause grave climate changes.” JA 693, ¶ 267. Because the

        activities cited by the companies involve fossil fuel production rather than concealment or

        misrepresentation of information about fossil fuel products, those activities fail to show the

        required relatedness.

               A comparison between this case and Sawyer v. Foster Wheeler LLC, 860 F.3d 249

        (4th Cir. 2017), underscores the problem with the companies’ argument. In Sawyer, the

        estate of a worker who allegedly died from asbestos exposure while assembling boilers for

        Navy vessels sued the boilers’ manufacturer based on a failure to warn about the danger of

        asbestos in its products. But the relevant defendant in Sawyer did not simply make boilers

        under contracts with the Navy. Instead, “the Navy dictated the content of warnings on” the

        company’s boilers. Sawyer, 860 F.3d at 258 (emphasis added). For that reason, the

        manufacturer’s charged conduct (a failure to warn) was directly related to the asserted

        official authority (choosing the contents of the warnings).

                                                     10
USCA4 Appeal: 22-2082    Doc: 146    Filed: 02/26/2024  Pg: 11 of 13
             Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 11 of 13



               Here, by contrast, the companies do not argue the federal government required them

        to market or describe their products in a certain way. We thus join the First, Second, Eighth,

        and D.C. Circuits in holding that allegations like those here do not support federal officer

        removal. See Rhode Island v. Shell Oil Prods. Co., 35 F.4th 44, 53 n.6 (1st Cir. 2022)

        (“adher[ing] to” prior “rejection of federal-officer removal jurisdiction” in Rhode Island v.

        Shell Oil Products Co., 979 F.3d 50, 59–60 (1st Cir. 2020), vacated, 141 S. Ct. 2666

        (2021)), cert. denied, 143 S. Ct. 1796 (2023); Connecticut by Tong v. Exxon Mobil Corp.,

        83 F.4th 122, 145 (2d Cir. 2023); Minnesota by Ellison v. American Petrol. Inst., 63 F.4th

        703, 715–16 (8th Cir. 2023), cert. denied, 2024 WL 72389 (Jan. 8, 2024); District of

        Columbia, 89 F.4th at 156–57.

               The companies also ask us to look beyond the face of the complaints, accusing the

        local governments of artful pleading and insisting the governments’ property-based claims

        of trespass, public nuisance, and private nuisance necessarily rest on physical injuries from

        the companies’ production and sale of fossil fuels. That argument, too, is foreclosed by

        Baltimore. In Baltimore, this Court considered a virtually identical complaint raising

        claims under the Maryland Consumer Protection Act and several property-based torts. The

        Court held that the “source of tort liability” was not any production-related activities but

        the defendants’ “concealment and misrepresentation of [their] products’ known dangers—

        and the simultaneous promotion of their unrestrained use.” 31 F.4th at 233–34. Here, as in

        Baltimore, “each of [the local governments’] claims are factually premised on [the

        companies’] ‘superior knowledge’ of the negative, climate-change impacts attributable to



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USCA4 Appeal: 22-2082    Doc: 146    Filed: 02/26/2024  Pg: 12 of 13
             Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 12 of 13



        their fossil-fuel products.” Id. at 195. 2 And, here too, we lack the authority to revisit that

        decision. See McMellon, 387 F.3d at 332.

                                                      B.
               The companies also contend removal was proper because the district court would

        have had federal question jurisdiction over these suits under 28 U.S.C. § 1331.

        See 28 U.S.C. § 1441(a) (stating that, subject to exceptions not at issue here, an action may

        be removed if the district court would have had “original jurisdiction” had it been filed in

        federal court). The companies argue that no court will be able to resolve the local

        governments’ misrepresentation claims without addressing a question of federal law:

        whether the First Amendment protects the companies’ commercial speech or speech on

        matters of public concern. And that, insist the companies, means there is federal question

        jurisdiction under the analysis mandated by Grable & Sons Metal Products, Inc. v. Darue

        Engineering & Manufacturing, 545 U.S. 308 (2005).

               The Third and Ninth Circuits swiftly disposed of this argument, and so can we.

        See City of Hoboken v. Chevron Corp., 45 F.4th 699, 709 (3d Cir. 2022); City of Oakland

        v. BP PLC, 2023 WL 8179286, at *3 (9th Cir. Nov. 27, 2023). For Grable jurisdiction to




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                  See, e.g., JA 684–85 (alleging, for public nuisance, that companies had “superior
        knowledge” from their control of the industry); JA 691 (alleging, for private nuisance, that
        companies possessed “extensive knowledge” of the hazards); JA 693, 695 (alleging, for
        strict liability and negligent failure to warn, that companies breached a duty of care by not
        passing on their internal research and instead disseminating misleading materials); JA 698
        (alleging, for trespass, that companies acted contrary to “actual knowledge” their products
        were dangerous); JA 700–02 (alleging, for violations of Maryland’s Consumer Protection
        Act, that companies made false and misleading statements, representations, and omissions
        about their fossil fuel products).
                                                      12
USCA4 Appeal: 22-2082    Doc: 146    Filed: 02/26/2024  Pg: 13 of 13
             Case 1:21-cv-00772-SAG Document 201-1 Filed 02/26/24 Page 13 of 13



        lie, it is not enough that a question of federal law is likely—or even certain—to arise in the

        litigation. Instead, the question is whether a disputed issue of federal law is a “necessary

        element of one of the [plaintiff ’s] well-pleaded state claims.” Burrell v. Bayer Corp.,

        918 F.3d 372, 381 (4th Cir. 2019).

               The companies cite no decision sustaining removal over speech-related state law

        causes of action. To the contrary, “[s]tate courts routinely hear libel, slander, and

        misrepresentation cases involving matters of public concern” even though all such cases

        implicate federal constitutional issues. City of Hoboken, 45 F.4th at 709; see, e.g., New York

        Times Co. v. Sullivan, 376 U.S. 254 (1964). The reason is straightforward. The First

        Amendment issues in these cases are not necessary elements of the local governments’

        state-law claims: they are (constitutional) defenses. And to establish federal-question

        jurisdiction, “[i]t is not enough that federal law becomes relevant by virtue of a defense,”

        even if it is “anticipated in the plaintiff ’s complaint.” Burrell, 918 F.3d at 381 (quotation

        marks removed).

                                               *      *      *

               Like every court of appeals to have considered a similar case, we conclude there

        was no valid basis for removal. The district court’s remand orders are

                                                                                        AFFIRMED.




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